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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

MARK W. DOBRONSKI,                        Case No. 2:23-cv-12153

                  Plaintiff,              Hon. Jonathan J.C. Grey

v.

THE SAVINGS BANK MUTUAL
LIFE INSURANCE COMPANY OF
MASSACHUSETTS, et al.,

               Defendants.
__________________________________________________________________

 ORDER PERMITTING PLAINTIFF TO ISSUE LIMITED THIRD-
     PARTY SUBPOENAS IN ADVANCE OF RULE 26(f)
                   CONFERENCE

      Plaintiff, MARK W. DOBRONSKI, and Defendant THE SAVINGS

BANK      LIFE    INSURANCE        COMPANY        OF   MASSACHUSETTS

(“SBLI”), hereby stipulate as follows:

      WHEREAS, on January 16, 2024, Plaintiff filed Plaintiff’s

Emergency Motion for Injunctive Relief [ECF No. 28] (“Emergency

Motion”).

      WHEREAS, SBLI denies any involvement in the alleged telephone

calls that were the subject of Plaintiff’s Emergency Motion.


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      WHEREAS, Plaintiff desires to serve subpoenas upon the

telephone carriers that provide telephone service for the telephone

numbers identified in the Emergency Motion, to wit: 567-623-8377 and

609-459-0303.

      WHEREAS, a Rule 26(f) conference has yet to be scheduled or

conducted in this case, and may be weeks off.

      WHEREAS, Rule 26(d)(1) prohibits a party from seeking discovery

from any source before the parties have conducted a Rule 26(f)

conference, except when authorized by the Rules, stipulation, or court

order.

      NOW, THEREFORE, the parties jointly stipulate that the Court

enter an order permitting Plaintiff to issue third-party subpoenas upon

telephone carriers for the limited purpose of ascertaining the identity of

the subscriber(s) and call detail activity for telephone numbers 567-623-

8377 and 609-459-0303 in advance of the Rule 26(f) Conference,

attached hereto as Appendix A and Appendix B.

      The Court, having reviewing the grounds stated by the parties’

stipulation,

      IT IS HEREBY ORDERED that Plaintiff may issue third-party

subpoenas, in the form attached hereto as Appendix A and Appendix B,

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upon telephone carriers for the limited purpose of ascertaining the

identity of the subscriber(s) and call detail activity for telephone

numbers 567-623-8377 and 609-459-0303 in advance of the Rule 26(f)

Conference.



Dated: February 2, 2024                      s/Jonathan J.C. Grey
                                             Honorable Jonathan J.C. Grey
                                             United States District Judge




Respectfully submitted this 1st day of February, 2024.




Mark W. Dobronski                            Jeffrey A. Bove (P77763)
Plaintiff In Propria Persona                 Ogletree, Deakins, Nash, Smoak &
Post Office Box 222                          Stewart, PLLC
Dexter, Michigan 48130-0222                  Attorneys for Defendant SBLI
Telephone: (734) 330-9671                    34977 Woodward Avenue, Suite 300
Email: markdobronski@yahoo.com               Birmingham, MI 48009
                                             Telephone: (248) 593-6400
                                             Email: jeffreybove@ogletree.com




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                    APPENDIX A




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to
Permit Inspection of Premises in a Civil Action


    UNITED STATES DISTRICT COURT
                                                                for the
                                                          Eastern District of Michigan District of
  MARK W. DOBRONSKI,                                                           )
                                 Plaintiff                                     )
                                   v.                                          )   Civil Action No.    23-cv-12153
                                                                               )
THE SAVINGS BANK MUTUAL LIFE INSUR., CO., et al.                               )
                                Defendant                                      )



             SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
               OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:
LEVEL 3 COMMUNICATIONS LLC
                                        (Name of person to whom this subpoena is directed)
     Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
                                     following
        X
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
sampling of the material:



  Place: 3140 BAKER ROAD #222                                                       Date and Time:
            DEXTER, MI 48130-0222                                                   FEBRUARY 29, 2024 @ 2:00 P.M.


       Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises,
                                           land, or
        X
other property possessed or controlled by you at the time, date, and location set forth below, so that the
requesting party may inspect, measure, survey, photograph, test, or sample the property or any
designated object or operation on it.

    Place:                                                                         Date and Time:



          The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place
of compliance; Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e)
and (g), relating to your duty to respond to this subpoena and the potential consequences of not doing
so.
Date:



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                            CLERK OF COURT
                                                                         OR

                                  Signature of Clerk or Deputy Clerk                          Attorney’s
                                  signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) ______________________
   MARK W. DOBRONSKI                                                     , who issues or requests this subpoena, are:
MARK W. DOBRONSKI, PO BOX 222, DEXTER, MI 48130-0222 markdobronski@yahoo.com (734) 330-9671

                        Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible
things or the inspection of premises before trial, a notice and a copy of the subpoena must be served on
each party in this case before it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                                .

                I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                        ; or

                I returned the subpoena unexecuted because:
                                                                                                                                                          .

             Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                      .

My fees are $                                      for travel and $                              for services, for a total of $                    0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                    Server’s signature



                                                                                                  Printed name and title




                                                                                                    Server’s address

 Additional information regarding attempted service, etc.:




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                    not describe specific occurrences in dispute and results from the expert’s
(1) For a Trial, Hearing, or Deposition. A subpoena may command a                   study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
  (A) within 100 miles of where the person resides, is employed,                    described in Rule 45(d)(3)(B), the court may, instead of quashing or
or regularly transacts business in person; or                                       modifying a subpoena, order appearance or production under
  (B) within the state where the person resides, is employed, or                    specified conditions if the serving party:
regularly transacts business in person, if the person                                      (i) shows a substantial need for the testimony or material that
     (i) is a party or a party’s officer; or                                        cannot be otherwise met without undue hardship; and
     (ii) is commanded to attend a trial and would not incur                               (ii) ensures that the subpoenaed person will be reasonably
substantial expense.                                                                compensated.

(2) For Other Discovery. A subpoena may command:                                    (e) Duties in Responding to a Subpoena.
   (A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides,            (1) Producing Documents or Electronically Stored Information. These
is employed, or regularly transacts business in person; and                         procedures apply to producing documents or electronically stored
   (B) inspection of premises at the premises to be inspected.                      information:
                                                                                       (A) Documents. A person responding to a subpoena to produce documents
(d) Protecting a Person Subject to a Subpoena; Enforcement.                         must produce them as they are kept in the ordinary course of business or must
                                                                                    organize and label them to correspond to the categories in the demand.
(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney                   (B) Form for Producing Electronically Stored Information Not Specified.
responsible for issuing and serving a subpoena must take reasonable steps           If a subpoena does not specify a form for producing electronically stored
to avoid imposing undue burden or expense on a person subject to the                information, the person responding must produce it in a form or forms in
subpoena. The court for the district where compliance is required must              which it is ordinarily maintained or in a reasonably usable form or forms.
enforce this duty and impose an appropriate sanction—which may                         (C) Electronically Stored Information Produced in Only One Form.
include lost earnings and reasonable attorney’s fees—on a party or                  The person responding need not produce the same electronically stored
attorney who fails to comply.                                                       information in more than one form.
                                                                                       (D) Inaccessible Electronically Stored Information. The person
(2) Command to Produce Materials or Permit Inspection.                              responding need not provide discovery of electronically stored information
  (A) Appearance Not Required. A person commanded to produce                        from sources that the person identifies as not reasonably accessible because
documents, electronically stored information, or tangible things, or to             of undue burden or cost. On motion to compel discovery or for a protective
permit the inspection of premises, need not appear in person at the place           order, the person responding must show that the information is not
of production or inspection unless also commanded to appear for a                   reasonably accessible because of undue burden or cost. If that showing is
deposition, hearing, or trial.                                                      made, the court may nonetheless order discovery from such sources if the
  (B) Objections. A person commanded to produce documents or tangible               requesting party shows good cause, considering the limitations of Rule
things or to permit inspection may serve on the party or attorney designated        26(b)(2)(C). The court may specify conditions for the discovery.
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to            (2) Claiming Privilege or Protection.
producing electronically stored information in the form or forms requested.         (A) Information Withheld. A person withholding subpoenaed information
The objection must be served before the earlier of the time specified for           under a claim that it is privileged or subject to protection as trial-
compliance or 14 days after the subpoena is served. If an objection is made,        preparation material must:
the following rules apply:                                                              (i) expressly make the claim; and
     (i) At any time, on notice to the commanded person, the serving                    (ii) describe the nature of the withheld documents, communications, or
party may move the court for the district where compliance is required              tangible things in a manner that, without revealing information itself
for an order compelling production or inspection.                                   privileged or protected, will enable the parties to assess the claim.
     (ii) These acts may be required only as directed in the order, and the         (B) Information Produced. If information produced in response to a
order must protect a person who is neither a party nor a party’s officer            subpoena is subject to a claim of privilege or of protection as trial-
from significant expense resulting from compliance.                                 preparation material, the person making the claim may notify any party that
                                                                                    received the information of the claim and the basis for it. After being
(3) Quashing or Modifying a Subpoena.                                               notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where             information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                        until the claim is resolved; must take reasonable steps to retrieve the
    (i) fails to allow a reasonable time to comply;                                 information if the party disclosed it before being notified; and may
    (ii) requires a person to comply beyond the geographical                        promptly present the information under seal to the court for the district
limits specified in Rule 45(c);                                                     where compliance is required for a determination of the claim. The person
    (iii) requires disclosure of privileged or other protected matter, if no        who produced the information must preserve the information until the
exception or waiver applies; or                                                     claim is resolved.
    (iv) subjects a person to undue burden.
  (B) When Permitted. To protect a person subject to or affected by a               (g) Contempt.
subpoena, the court for the district where compliance is required may,              The court for the district where compliance is required—and also, after
on motion, quash or modify the subpoena if it requires:                             a motion is transferred, the issuing court—may hold in contempt a
      (i) disclosing a trade secret or other confidential                           person who, having been served, fails without adequate excuse to obey
research, development, or commercial information; or                                the subpoena or an order related to it.



                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




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                                                                EXHIBIT 1

YOU ARE COMMAND to produce at the time, date, and place designated the
following documents, electronically stored information, or objects, and to permit
inspection, copying, testing, or sampling of the material:

1.    The subscriber name, billing address, service address, and contact
      information for the telephone subscriber to telephone number 567-623-8377
      during the period January 1, 2024 to present.

2.    If telephone number 567-623-8377 has been ported at any time during the
      period January 1, 2024 to present, IDENTIFY the carrier to which the
      telephone number has been ported as well as any telephone number (if
      applicable) that the telephone number has been ported to.

3.    Provide call detail records ("CDR") for all call, both inbound and outbound,
      for the period January 1, 2024 through January 28, 2024, inclusive, for
      telephone number 567-623-8377. The CDR shall include date, time, whether
      incoming or outgoing, incoming or outgoing telephone number, AM of
      incoming call (if known), incoming caller identification name (if known),
      call duration.




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                     APPENDIX B




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 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to
 Permit Inspection of Premises in a Civil Action


     UNITED STATES DISTRICT COURT
                                                                 for the
                                                           Eastern District of Michigan District of
   MARK W. DOBRONSKI,                                                           )
                                  Plaintiff                                     )
                                    v.                                          )   Civil Action No.    23-cv-12153
                                                                                )
 THE SAVINGS BANK MUTUAL LIFE INSUR., CO., et al.                               )
                                 Defendant                                      )



              SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

  To:
 LEVEL 3 COMMUNICATIONS LLC
                                         (Name of person to whom this subpoena is directed)
      Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the
                                      following
         X
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or
 sampling of the material



   Place: 3140 BAKER ROAD #222                                                       Date and Time:
             DEXTER, MI 48130-0222                                                   FEBRUARY 29, 2024 @ 2:00 P.M.


        Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises,
                                            land, or
         X
 other property possessed or controlled by you at the time, date, and location set forth below, so that the
 requesting party may inspect, measure, survey, photograph, test, or sample the property or any
 designated object or operation on it.

     Place:                                                                         Date and Time:



           The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place
 of compliance; Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e)
 and (g), relating to your duty to respond to this subpoena and the potential consequences of not doing
 so.
 Date:



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                             CLERK OF COURT
                                                                          OR

                                   Signature of Clerk or Deputy Clerk                          Attorney’s
                                   signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
    MARK W. DOBRONSKI                                                     , who issues or requests this subpoena, are:
    MARK W. DOBRONSKI, PO BOX 222, DEXTER, MI 48130-0222 markdobronski@yahoo.com (734) 330-9671

                         Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible
 things or the inspection of premises before trial, a notice and a copy of the subpoena must be served on
 each party in this case before it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                                .

                I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                        ; or

                I returned the subpoena unexecuted because:
                                                                                                                                                          .

             Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                      .

My fees are $                                      for travel and $                              for services, for a total of $                    0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                    Server’s signature



                                                                                                  Printed name and title




                                                                                                    Server’s address

 Additional information regarding attempted service, etc.:




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                                                                             EXHIBIT 1

YOU ARE COMMAND to produce at the time, date, and place designated the following
documents, electronically stored information, or objects, and to permit inspection, copying,
testing, or sampling of the material:

1.   The subscriber name, billing address, service address, and contact information for the
     telephone subscriber to telephone number 609-459-0303 during the period January 1,
     2024 to present.

2.   If telephone number 609-459-0303 has been ported at any time during the period
     January 1, 2024 to present, IDENTIFY the carrier to which the telephone number has
     been ported as well as any telephone number (if applicable) that the telephone number
     has been ported to.

3.   Provide call detail records ("CDR") for all call, both inbound and outbound, for the period
     January 1, 2024 through January 28, 2024, inclusive, for telephone number 609-459-
     0303. The CDR shall include date, time, whether incoming or outgoing, incoming or
     outgoing telephone number, ANI of incoming call (if known), incoming caller
     identification name (if known), call duration.




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                              (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
(1) For a Trial, Hearing, or Deposition. A subpoena may command a                 study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
  (A) within 100 miles of where the person resides, is employed,                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
or regularly transacts business in person; or                                     modifying a subpoena, order appearance or production under
  (B) within the state where the person resides, is employed, or                  specified conditions if the serving party:
regularly transacts business in person, if the person                                    (i) shows a substantial need for the testimony or material that
     (i) is a party or a party’s officer; or                                      cannot be otherwise met without undue hardship; and
     (ii) is commanded to attend a trial and would not incur                             (ii) ensures that the subpoenaed person will be reasonably
substantial expense.                                                              compensated.

(2) For Other Discovery. A subpoena may command:                                  (e) Duties in Responding to a Subpoena.
   (A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides,          (1) Producing Documents or Electronically Stored Information. These
is employed, or regularly transacts business in person; and                       procedures apply to producing documents or electronically stored
   (B) inspection of premises at the premises to be inspected.                    information:
                                                                                     (A) Documents. A person responding to a subpoena to produce documents
(d) Protecting a Person Subject to a Subpoena; Enforcement.                       must produce them as they are kept in the ordinary course of business or must
                                                                                  organize and label them to correspond to the categories in the demand.
(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney                 (B) Form for Producing Electronically Stored Information Not Specified.
responsible for issuing and serving a subpoena must take reasonable steps         If a subpoena does not specify a form for producing electronically stored
to avoid imposing undue burden or expense on a person subject to the              information, the person responding must produce it in a form or forms in
subpoena. The court for the district where compliance is required must            which it is ordinarily maintained or in a reasonably usable form or forms.
enforce this duty and impose an appropriate sanction—which may                       (C) Electronically Stored Information Produced in Only One Form.
include lost earnings and reasonable attorney’s fees—on a party or                The person responding need not produce the same electronically stored
attorney who fails to comply.                                                     information in more than one form.
                                                                                     (D) Inaccessible Electronically Stored Information. The person
(2) Command to Produce Materials or Permit Inspection.                            responding need not provide discovery of electronically stored information
  (A) Appearance Not Required. A person commanded to produce                      from sources that the person identifies as not reasonably accessible because
documents, electronically stored information, or tangible things, or to           of undue burden or cost. On motion to compel discovery or for a protective
permit the inspection of premises, need not appear in person at the place         order, the person responding must show that the information is not
of production or inspection unless also commanded to appear for a                 reasonably accessible because of undue burden or cost. If that showing is
deposition, hearing, or trial.                                                    made, the court may nonetheless order discovery from such sources if the
  (B) Objections. A person commanded to produce documents or tangible             requesting party shows good cause, considering the limitations of Rule
things or to permit inspection may serve on the party or attorney designated      26(b)(2)(C). The court may specify conditions for the discovery.
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to          (2) Claiming Privilege or Protection.
producing electronically stored information in the form or forms requested.       (A) Information Withheld. A person withholding subpoenaed information
The objection must be served before the earlier of the time specified for         under a claim that it is privileged or subject to protection as trial-
compliance or 14 days after the subpoena is served. If an objection is made,      preparation material must:
the following rules apply:                                                            (i) expressly make the claim; and
     (i) At any time, on notice to the commanded person, the serving                  (ii) describe the nature of the withheld documents, communications, or
party may move the court for the district where compliance is required            tangible things in a manner that, without revealing information itself
for an order compelling production or inspection.                                 privileged or protected, will enable the parties to assess the claim.
     (ii) These acts may be required only as directed in the order, and the       (B) Information Produced. If information produced in response to a
order must protect a person who is neither a party nor a party’s officer          subpoena is subject to a claim of privilege or of protection as trial-
from significant expense resulting from compliance.                               preparation material, the person making the claim may notify any party that
                                                                                  received the information of the claim and the basis for it. After being
(3) Quashing or Modifying a Subpoena.                                             notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where           information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                      until the claim is resolved; must take reasonable steps to retrieve the
    (i) fails to allow a reasonable time to comply;                               information if the party disclosed it before being notified; and may
    (ii) requires a person to comply beyond the geographical                      promptly present the information under seal to the court for the district
limits specified in Rule 45(c);                                                   where compliance is required for a determination of the claim. The person
    (iii) requires disclosure of privileged or other protected matter, if no      who produced the information must preserve the information until the
exception or waiver applies; or                                                   claim is resolved.
    (iv) subjects a person to undue burden.
  (B) When Permitted. To protect a person subject to or affected by a             (g) Contempt.
subpoena, the court for the district where compliance is required may,            The court for the district where compliance is required—and also, after
on motion, quash or modify the subpoena if it requires:                           a motion is transferred, the issuing court—may hold in contempt a
      (i) disclosing a trade secret or other confidential                         person who, having been served, fails without adequate excuse to obey
research, development, or commercial information; or                              the subpoena or an order related to it.



                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




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                            Certificate of Service

 The undersigned certifies that the foregoing document was served upon
  counsel of record and any unrepresented parties via the Court’s ECF
   System to their respective email or First-Class U.S. mail addresses
    disclosed on the Notice of Electronic Filing on February 2, 2024.

                                s/ S. Osorio
                               Sandra Osorio
                               Case Manager




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